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MINUTE ENTRY
MILAZZO, J.
JUNE 2, 2021


 JS-10: 00:30

                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                CRIMINAL ACTION

VERSUS                                                  NO. 18-265

BRYAN JOSEPH                                            SECTION "H"


                                 SENTENCING
                U.S. District Judge Jane Triche Milazzo presiding

CASE MANAGER: BRIDGET GREGORY
COURT REPORTER: ALEXIS VICE
LAW CLERK: EMMY SCHROETER

APPEARANCES: NOLAN D. PAIGE, AUSA, FOR GOVERNMENT
             JEFFREY D. HUFFT, FOR DEFENDANT
             MARILYN J. BRASSET, US PROBATION OFFICER

Court begins at 10:30 a.m.
Counsel appear for the record.
Defendant present for sentencing.
On November 20, 2019, defendant entered into a guilty plea as to count 1 of the
Superseding Bill of Information.
Defendant addressed the Court.
Victim impact statement to the Court.
Government addressed the Court.
Defendant sentenced as to Count 1 of the Superseding Bill of Information.
See Judgment and Commitment Order.
On motion of the United States, the original indictment is dismissed as to this
defendant.
Defendant remanded to the Custody of the U.S. Marshal.
Matter adjourned at 11:00 a.m.


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